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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 In re:                                                :
                                                       :
 FINANCIAL BUSINESS AND CONSUMER                       :
 SOLUTIONS, INC.,                                      :
                                                       :
 f/d/b/a Federal Bond & Collection Service, Inc.       :
 d/b/a FBCS, Inc.                                      :   CHAPTER7
 d/b/a F C B S                                         :
 d/b/a F.B.C.S.                                        :   BANKRUPTCY NO. 24-13029 (AMC)
 d/b/a FCBS Service                                    :
 d/b/a Fbcs Service                                    :
 d/b/a FBCS SERVICE                                    :
 d/b/a Financial Business & Consumer Solutions, Inc.   :
 f/d/b/a Federal Bond                                  :
 f/d/b/a Fed Bond                                      :
 f/d/b/a Federal Bond & Collection SV Inc.             :
                                                       :
                  Debtor.                              :
                                                       :
                                                       :
                                                       :



              TRUSTEE’S MOTION FOR ENTRY OF AN ORDER
   DIRECTING TURNOVER OF PROPERTY OF THE ESTATE (DEBTOR”S MAIL)

          Christine Shubert, as chapter 7 trustee (the “Trustee”) of Financial Business and Consumer

Solutions, Inc. (the “Debtor” or “FBCS”), pursuant to 11 U.S.C. §§ 105(a) and 541(a), respectfully

moves this Court for the entry of an order directing the United States Hatboro Post Office (the

“Hatboro Post Office”) to turn over all of the mail directed to the Debtor that is received by and

being held by the Hatboro Post Office. In support of this motion (the “Motion”), the Trustee

respectfully states as follows:


                                             JURISDICTION

          1.     This Court has jurisdiction over the above captioned chapter 7 case (the “Chapter

7 Case”) and the Motion pursuant to 28 U.S.C. §§ 157(b)(2)(E) and 1334.




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         2.      Venue of this Motion is properly in the United States Bankruptcy Court for the

Eastern District of Pennsylvania (the “Bankruptcy Court”) pursuant to 28 U.S.C. § 1409(a). This

matter is a core proceeding pursuant to 28 U.S.C. 157(b).

                                   FACTUAL BACKGROUND

         3.      On August 29, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 7 of title 11, United States Code (the “Bankruptcy Code”). On the same date,

Christine Shubert was duly appointed the chapter 7 Trustee of the Debtor’s estate.

         4.      Prior to the Petition Date, the Debtor was a nationally licensed and bonded

collection agency offering pre-charge off, early out, and third-party collection services.

         5.      The Debtor’s main office is located at 330 S Warminster Rd #353, Hatboro, PA

19040.

         6.      The Debtor’s post office is located at 12 N York Rd, Hatboro, PA (the “Hatboro

Post Office”).

                                      RELIEF REQUESTED

         7.      The Trustee respectfully requests, pursuant to 11 U.S.C. § 541(a), that this Court

enter an order directing that the Hatboro Post Office turnover to her all mail directed to the Debtor

in possession of the Hatboro Post Office and any future mail directed to the Debtor sent to the

Hatboro Post Office.

                                 BASIS FOR RELIEF REQUESTED

         8.      Section 105(a) of the Bankruptcy Code allows the Court to issue any order, process,

or judgment that is necessary or appropriate to carry out the provisions of this title. 11 U.S.C.

§105(a). Section 541(a) of the Bankruptcy Code defines as property of the estate, “all legal and




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equitable interests of the debtor in property as of the commencement of the case.” 11 U.S.C.

§ 541(a).

        9.      The mail received by the Debtor at the Hatboro Post Office is property of the Estate.

The Trustee has a fiduciary duty to review the mail in order to make decisions regarding the

Chapter 7 Case. Therefore, it is essential that the Trustee be able to gain control of the mail to

make decisions for the benefit of the estate. Accordingly, the Trustee requests that an order be

issued directing Hatboro Post Office to turn over to the Trustee all of the mail directed to the

Debtor.

                                              NOTICE

        10.     Notice of this Motion has been given to: (i) the Hatboro Post Office, (ii) the Office

of the United States Trustee, (iii) the Debtor’s counsel, and (iv) other parties requesting notice in

this case. In light of the nature of the relief requested, the Trustee submits that no further notice is

required.

        WHEREFORE, the Trustee requests that this Court enter an order, pursuant to 11 U.S.C.

§§ 105(a) and 541(a), (i) directing the Hatboro Post Office to turn over all of the Debtor’s mail

currently in its possession and all Debtor’s mail received in the future to the Trustee and (iii)

granting such other and further relief as the Court deems just and equitable.




                                      (Signature page follows)




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                                              Respectfully submitted,

                                              FOX ROTHSCHILD LLP


                                          By: /s/Martha B. Chovanes
                                              Martha B. Chovanes
                                              Michael G. Menkowitz
                                              2000 Market Street, 20th Fl.
                                              Philadelphia, PA 19103
                                              (215) 299-2000
                                              mchovanes@foxrothschild.com
                                              mmenkowitz@foxrothschild.com

                                              Proposed Counsel for the Trustee
Dated: September 12, 2024




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